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                       IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLORADO

  JAY CONNOR, individually and on                   Case No. 1:24-cv-02286
  behalf of all others similarly situated,


                        Plaintiff,                  JURY TRIAL DEMANDED
         v.                                         CLASS ACTION

  SERVICEQUIK INC. d/b/a
  ZING BUSINESS MANAGEMENT
  SOFTWARE


                        Defendant.

                          MOTION FOR ANTI-SUIT INJUNCTION

       Two days after finding out that it was being sued in this federal court action,

Defendant, Servicequik Inc., filed a self-styled “Motion to Amend and for Summary

Judgment” in a closed and dismissed South Carolina state court action arising out of

one of the same causes of action as here. The purpose of this motion, attached herein

as Exhibit A, is twofold. For one, the motion for summary judgment is intended to short-

circuit this Court and request that the South Carolina court reopen a case it dismissed,

at the Plaintiff’s request and via court order, without prejudice on August 19, 2024,

attached herein as Exhibit B. That dismissal, which was without prejudice, had the effect

of disposing of the South Carolina state court action so that this class action could be

filed in this District. The second purpose of the motion is to have the South Carolina

court preempt this Court on the question of TCPA and SCTPPA liability, asking that

court to resolve a dismissed case via a post-hoc summary judgment motion and thus

resolve Plaintiff’s claims in this Court under the veil of summary judgment with res

judicata effect.
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       While Plaintiff Jay Connor has and will diligently pursue his TCPA and state law

telemarketing claims against Defendant in this Court, Defendant’s motion for summary

judgment against him in South Carolina state court threatens this Court’s ability to

adjudicate this case under its own jurisdiction. At least two grounds authorize this Court

to enjoin Defendant from continuing with their improper motion against Mr. Connor in

South Carolina.

       First, this Court can issue an anti-suit injunction as “necessary in aid of its

jurisdiction.” 28 U.S.C. § 2283. Such an injunction is proper where it “may be necessary

to prevent a state court from so interfering with a federal court’s consideration or

disposition of a case as to seriously impair the federal court’s flexibility and authority to

decide that case.” Atl. Coastline R. Co. v. Bhd. of Locomotive Engineers, 398 U.S. 281,

295 (1970). That standard is readily met here.

       Second, this Court can also issue an anti-suit injunction to prevent irreparable

harm to Connor that is threatening to occur by virtue of the pending motion in South

Carolina state court, because the Defendant is insisting for an adjudication on the merits

of a dismissed case via the South Carolina summary judgment mechanism. If the South

Carolina court improperly considers and grants the Defendant’s motion, the bell cannot

be unrung. Such a holding, though procedurally and substantively improper, would have

impermissible res judicata effect, thus further standing as a basis to enjoin Defendant’s

advancement of its improper motion. See In re Rare, LLC, 298 B.R. 762, 769 (Bankr. D.

Colo. 2003) (holding anti-suit injunction was proper when French court judgment

prevented shipment of wine).




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       And given that continuation of the dismissed South Carolina state court action

serves no legitimate purpose, the balance of equities likewise justifies the equitable

remedy of an anti-suit injunction. As such, this Court should enjoin Defendant from

advancing its Motion to Amend and for Summary Judgment or otherwise seeking to

reopen the dismissed South Carolina state court action, preserve the status quo, and

enjoin any ruling on the motion.

                    FACTUAL AND PROCEDURAL BACKGROUND

       It bears clarification the posture that this case comes to this Court. In sum, a

lawsuit asserting one of the claims in this action, violations of the SCTPPA, was

originally filed by the Plaintiff, proceeding pro se, in state court in South Carolina, where

the Plaintiff resides. Plaintiff and Defendant conducted limited discovery in that action.

During the pendency of that action, counsel for Defendant suggested that Plaintiff obtain

a lawyer. Because discovery revealed an appropriate basis for asserting both federal

and state law class action claims against Defendant, the Plaintiff moved to voluntarily

dismiss the South Carolina state court action without prejudice. The South Carolina

court granted that motion on August 19, 2024. (Exhibit B).

       Plaintiff then retained the undersigned class action counsel which then filed this

action in Colorado, where the Defendant is located, that same day. (ECF No. 1).

Thereafter, as a result of a clerical error, counsel for Plaintiff filed an Amended

Complaint properly asserting class action claims, as originally intended, on August 21.

(ECF No. 6). Thereafter, Defendant was served with the Amended Complaint on August

26. (ECF No. 9).




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       Two days later, Defendant filed a self-styled “Motion to Amend and for Summary

Judgment,” attached herein as Exhibit A, in the dismissed South Carolina state court

action. That motion seeks three things. First, it seeks to re-open the dismissed case.

Second, it requests a summary judgment adjudication on the merits, which would have

the effect of dismissing the South Carolina action with prejudice and thus result in res

judicata effect, further divesting this Court of its own, superior, jurisdiction. Third, it

seeks a declaration that the Plaintiff, who was proceeding pro se in the South Carolina

action, acted for an improper purpose, thereby entitling Defendant to its attorneys’ fees.

Put another way, Defendant has invited the South Carolina state court to resolve

Plaintiff’s federal claim under the auspices of summary judgment.

                                     LEGAL STANDARD

       The requested injunction is both permissible and necessary. First, the All Writs

Act empowers federal courts to enjoin interfering state proceedings in aid of their own

federal jurisdiction. Second, the circumstances of this case fall within one of the

statutory exceptions to the Anti-Injunction Act (“AIA”), which otherwise limits the power

of federal courts to enjoin state court proceedings under the All Writs Act. And third, the

balance of equities necessitates the requested relief. Plaintiff discusses the legal

standard for each issue in turn.

       The All Writs Act grants district courts the authority to enjoin parallel litigation in

both federal and state courts under certain circumstances. The statute provides that

courts “may issue all writs necessary or appropriate in aid of their respective

jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C. § 1651(a).

This includes the ability to enjoin parties from engaging in litigation in another court. See


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In re Jimmy John’s Overtime Litig., 877 F.3d 756, 762 (7th Cir. 2017).

       The equitable authority afforded by the All Writs Act is circumscribed, to an

extent, by the Anti-Injunction Act. In re Prudential Ins. Co. of Am. Sales Prac. Litig., 261

F.3d 355, 365 (3d Cir. 2001) (“The All Writs Act acts in concert with the Anti-Injunction

Act to permit the issuance of an injunction.”) (cleaned up). The AIA provides that a

“court of the United States may not grant an injunction to stay proceedings in a State

court except [1] as expressly authorized by Act of Congress, or [2] where necessary in

aid of its jurisdiction, or [3] to protect or effectuate its judgments.” 28 U.S.C. § 2283. In

addition, courts have also recognized a fourth exception justifying intervention in such

cases “where there has been an adequate showing of irreparable injury.” See, e.g., In re

Rare, LLC, 298 B.R. at 769; In re Coordinated Pretrial Proc. in Antibiotic Antitrust

Actions, 520 F. Supp. 635, 662 (D. Minn. 1981).

       Because the generic four-part test for preliminary injunctions provides an

awkward fit in cases contemplating injunctions of state and foreign proceedings, district

courts have no obligation to employ it in such contexts. Quaak v. Klynveld Peat

Marwick, 361 F.3d 11, 20 (1st Cir. 2004). Rather, the Circuit Courts of Appeal to

consider the issue have turned to principles of a balance of equities to determine if an

anti-suit injunction is necessary. When an injunction is otherwise permissible under the

Anti-Injunction Act, courts will instead weigh the more general “principles of equity,

comity, and federalism.” Wyly v. Weiss, 697 F.3d 131, 144 (2d Cir. 2012); 1199SEIU

United Healthcare Workers E. v. PSC Cmty. Servs., 634 F. Supp. 3d 158, 171 (S.D.N.Y.

2022). Here, the equities counsel in favor of enjoining the South Carolina proceedings

and enforcing the status quo: the court-ordered dismissal without prejudice in South


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Carolina, permitting the instant suit to proceed before this Court.

                                         ARGUMENT

1. The All Writs Act, as Limited by the Anti-Injunction Act, Affords the Relief
   Requested

       To be sure, the All Writs Act is not frequently used in federal courts because

lawyers typically do not engage in parallel, piecemeal, post hoc attempts at litigation in

an alien forum, as here. However, when they do so, the All Writs Act affords relief

enabling the superior federal courts to issue all writs necessary in aid of their respective

jurisdiction. Indeed, just this year, the Northern District of West Virginia enjoined a

parallel state court TCPA declaratory judgment action from proceeding in Puerto Rico.

Mey v. Pintas, No. 5:24-CV-55, 2024 WL 2814701, at *5 (N.D.W. Va. May 17, 2024). In

so doing, the Northern District held that, although “limited” by the AIA, when a district

court was asked to enjoin proceedings in a state (or territorial) court, an injunction was

appropriate because permitting the Puerto Rican action to proceed would “render the

exercise of the federal court’s jurisdiction nugatory[.]” Id. (citing Winkler v. Eli Lilly & Co.,

101 F.3d 1196 (7th Cir. 1997)). Put another way, the court in that case held that an

injunction was necessary to prevent the territorial court in Puerto Rico from rendering a

declaratory judgment that would impair the federal court’s ability to adjudicate the

related TCPA claims.

       Here, as in Mey, the requested injunction falls within the second exception,

providing for injunctions “necessary in aid of its jurisdiction.” Although there is no Tenth

Circuit case law directly on point, the Seventh Circuit has outlined that a state court

threatens a federal court’s jurisdiction “if the state court reaches a final decision first,



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thus potentially resulting in claim and issue preclusion.” In re Jimmy John’s Overtime

Litig., 877 F.3d 756, 765 (7th Cir. 2017). These considerations are all the more palpable

here, because the Plaintiff is not merely trying to enjoin a state court action from

proceeding. Rather, the Plaintiff is seeking to enforce his interests and justifiable

reliance on a dismissal of the action in the state court, without prejudice, whereby he

was permitted to file this federal Court action. Asset Allocation & Mgmt. Co. v. W.

Emp’rs Ins. Co., 892 F.2d 566, 572 (7th Cir. 1989) (holding district court had discretion

to issue anti-suit injunction where there were two actions between the same parties

involving identical issues).

       In further delineating the AIA’s second exception, the Supreme Court has held

that it applies in instances where it “may be necessary to prevent a state court from so

interfering with a federal court’s consideration or disposition of a case as to seriously

impair the federal court’s flexibility and authority to decide that case.” Atl. Coastline R.

Co., 398 U.S. at 295. In interpreting the standard set forth by the Supreme Court in Atl.

Coastline, the Fourth Circuit has remarked that this exception, as well as the judgment

enforcement exception, afford the requested relief where it is necessary to “prevent a

state court from so interfering with a federal court’s consideration or disposition of a

case as to seriously impair the federal court’s flexibility and authority to decide that

case.” In re Am. Honda Motor Co., Inc. Dealership Relations Litig., 315 F.3d 417, 439

(4th Cir. 2003). In other words, the Circuit Courts of Appeal routinely uphold federal

courts’ exercise of injunctions against state court proceedings, particularly when, as

here, the state court proceedings threaten to make the ongoing progress of the federal

case unmanageable. See, e.g., Carlough v. Amchem Prods., Inc., 10 F.3d 189, 197 (3rd


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Cir. 1993) (holding injunction was appropriate when federal class action settlement was

imminent); In re Baldwin-United Corp., 770 F.2d 328, 337 (2d Cir. 1985) (upholding

injunction in multi-district litigation); Winkler, 101 F.3d at 1196 (holding injunction of

state court actions was warranted to preserve orderly pretrial discovery in multi-district

litigation).

        Here, the circumstances of the South Carolina litigation, as well as the

Defendant’s attempts to re-open and re-litigate issues now proceeding in this court, not

only threaten to divest this Court of its jurisdiction and risk conflicting judgments, but

essentially attempt to re-litigate and raise new defenses to the federal claims asserted

here under the guise of summary judgment. Defendant does so under state law in the

hope that the South Carolina court grants much the relief requested in its motion to

dismiss. Should the court do so, then Defendant will presumably leverage the doctrines

of res judicata, issue preclusion, and claim preclusion (at the very least as to the state

law claims) to deprive this Court of its authority not only to adjudicate Connor’s claims,

but to adjudicate the claims of many thousands of putative class members. That the

South Carolina action threatens to deprive this Court of jurisdiction compels this Court’s

intervention.

        What’s more, this case is nothing like the limited subset of cases where courts

have denied intervention. Unlike in some cases, where the effects of res judicata of a

properly pending action, standing alone, are insufficient to warrant an anti-suit

injunction, the circumstances here show that the motion filed in the South Carolina

court, after this action was filed and served, was presented improperly. This is because

it attempted to re-litigate a dismissed action in state court, with a parallel action


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proceeding, and already served, in federal court. This Court need look no further than

Defendant’s own pleadings to arrive at this conclusion. There, Defendant admits that it

brought the motion to preclude the case from “bring it [sic] federal court in a different

state where Defense counsel is not licensed.” (Ex. A, p. 2). And, when asked to

withdraw the South Carolina motion, counsel for the Defendant refused to do so, stating

that it would not consent to a “withdrawal of the important motion in South Carolina.”

       In addition, a second, independently sufficient reason tips the scales in favor of

an injunction here. The motion filed in South Carolina urges the South Carolina court to

re-open the dismissed case and make a ruling on the Plaintiff’s standing based on false

and irrelevant allegations about the Plaintiff’s litigation history and use of his telephone

number almost identical to those it makes in its motion to dismiss here. Should the

South Carolina court rule on the issues presented in the motion, issues that the

Defendant here attempts to re-present in this Court in the form of a motion to dismiss,

the South Carolina court will have effectively deprived this Court of its jurisdiction and

ability to hear and independently adjudicate the motion to dismiss. Nothing could

remedy this effective deprivation of a federal court’s authority by a state trial or even

state appellate court, let alone by impermissibly reopening a dismissed matter.

2. The Case Law Shows the Balance of Equities Warrants Relief

       As discussed above, in evaluating this motion, this Court does not look to the

traditional four-part preliminary injunction test, but rather considers whether a balance of

the equities, consistent with the principles of equity, comity, and federalism, favor the

relief requested. The balance of the equities unquestionably counsels enjoining any

further action in South Carolina. The balance of equities especially tips in favor of


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issuance of an injunction when the impending state court action is vexatious, harassing,

or brought for an improper purpose, as the interest in preserving federalism and comity

with the state courts is not significantly disturbed by the issuance of injunctive relief. In

re Corrugated Container Antitrust Litig., 659 F.2d 1332, 1335 (5th Cir. 1981), cert.

denied, 456 U.S. 936 (1982). For the three foregoing reasons, the balance of equities

also tips in favor of granting the requested injunction.

       First, the South Carolina motion is legally and procedurally improper. As has

been noted, Plaintiff sought and obtained a court order dismissing the South Carolina

lawsuit without prejudice. Two days after this action was served (not just filed),

Defendant filed the South Carolina motion in an attempt to divest this Court of its

jurisdiction. Defendant admits as much in the motion itself. It goes without saying that

attempting to seek summary judgment on a dismissed case is already legally and

procedurally suspect as an initial matter. This is doubly so because Defendant admitted

that it had actual notice of this active action now proceeding before this Court, but filed

the motion in South Carolina anyway. This is not to mention the fact that the motion

itself essentially asks a state court to rule, on summary judgment, on nearly identical

issues and defenses to those raised in a motion to dismiss before this federal court,

essentially rendering an advisory opinion. See Transamerica Life Ins. Co. v. Daibes Gas

Holdings Atlanta, L.L.C., No. CV 18-10869 (SRC), 2018 WL 5033755, at *5 (D.N.J. Oct.

17, 2018) (holding that request for declaratory relief in another lawsuit was in essence a

request for an advisory opinion).

       The South Carolina motion is simply a maneuver to avoid resolution of federal

claims by a federal court. In doing so by attempting to dispose of the state law claims


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asserted there on “standing” grounds, Defendant is attempting to preempt this Court on

the question of TCPA liability and the federal class action claims asserted here under a

private right of action created by Congress for the specific purpose of enforcing an

important federal interest, thus attempting to defeat the jurisdiction of the federal courts.

See In re Am. Honda, 315 F.3d at 437; In re Diet Drugs, 369 F.3d 293, 301 (3d Cir.

2004) (holding bad faith conduct supported injunction). If Defendant’s strategy is

allowed to stand, it would effectively end federal courts’ ability to adjudicate claims when

actions are pending in state court and would also set a dangerous precedent with

palpable federalism concerns, such as potentially allowing state courts to interfere with

cases removed to federal courts, multidistrict litigation, and other matters.

       Second, the South Carolina motion has not only the markings and hallmarks of,

but is admitted to be, brought to short-circuit this Court’s adjudicative authority. Such a

motion wastes judicial resources, is improper, and runs contrary to the principals of

federalism, as well as common sense. Principles of comity and federalism dictate that

this action, not the dismissed South Carolina action, is the proper one, necessitating an

injunction.

       For starters, the Plaintiff here, unlike in the South Carolina action, is represented

by experienced class action counsel with decades of experience prosecuting almost

exclusively the same type of claims at issue here. Unlike the South Carolina action,

which asserted only state law claims, this action also asserts claims under the TCPA,

an important federal statute. Most importantly, this case is proceeding as a putative

class action, not an individual case, seeking to vindicate the rights of the thousands of

recipients of the text messages Defendant sent to numbers on the Do Not Call Registry


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without consent. Nothing justifies the South Carolina court from short-circuiting the

process before this Court, where the Plaintiff is represented, asserts an additional claim,

and which will seek class certification based on evidence of classwide conduct.

       Moreover, not only has the Defendant not waived any defenses by virtue of

proceeding here in federal court, but the Defendant also actually possesses more

defenses and practicalities that justify proceeding here. The Defendant has already

availed itself of a second suck of the sav in making a motion to dismiss premised on

much the same defenses as the summary judgment motion in the state court action.

The Defendant is located here. It will have a fair opportunity to conduct additional

discovery on the class claims, will have an opportunity to object to class certification,

have an opportunity for summary judgment, and a jury trial, in addition to the panoply of

ancillary remedies provided for by the Federal Rules. In sum, by proceeding here and

granting the injunction, the Defendant not only suffers no prejudice, but suffers less.

       Third, the prejudice to the Plaintiff here is great and will be incapable of redress

should the South Carolina court rule on the motion. The after-the-fact motion for

summary judgment Defendant sought in the South Carolina case has none of the

procedural or other safeguards that Plaintiff possesses in this action, yet all the

preclusive effect. As has been noted, the Plaintiff in the South Carolina case filed and

begun to prosecute the action there pro se, which already put him at a disadvantage.

Then, he did not have an adequate opportunity to seek discovery into the issues raised

by the Defendant for the first time at its snap and ex post facto motion for summary

judgment. By virtue of the motion being filed in a dismissed case, it deprived Plaintiff of

discovery into facts that may have been available to him in discovery to meet the motion


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as nonmovant. Moreover, the claims at issue here are broader than those asserted in

the state court action, as this action asserts both additional federal claims as well as a

putative class of other individuals similarly situated. Such broader scope necessarily

requires additional, broader discovery, of which the Plaintiff was unquestionably

deprived of in the South Carolina action.

       If the South Carolina court rules on the motion, it will necessarily have made a

ruling as to the Plaintiff’s standing and usage of his residential telephone number of

nearly the same ilk as this Court here is asked to resolve at the motion to dismiss stage.

It will have done so without applying any TCPA-specific case law, facts, or statutory

interpretation related to those claims, or discovery related to them, because they were

simply not pled in that action. To be sure, the Plaintiff unquestionably has standing, and

his number is unquestionably residential. But if, even through no fault of Plaintiff or his

counsel here, the South Carolina court holds that the Plaintiff lacks standing to assert at

least some of the claims asserted here, the South Carolina court will necessarily have

adjudicated unpled claims and defenses which were also not subject to corresponding

discovery into them, not to mention those of the putative class, which were also absent.

These considerations, as well, present a real threat of irreparable harm and one-

sidedness which counsel in favor of an injunction under both the judgment exemption

to, as well as the case law interpreting, the Anti-Injunction Act.

                                       CONCLUSION

       For the foregoing reasons, the requested injunction is both permissible and

necessary to protect this Court’s own jurisdiction and isolate both Plaintiff and the

putative class from irreparable harm. As such, Plaintiff moves this Court for an order


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enjoining the Defendant from proceeding in any manner in the South Carolina case and

further enjoining any action in the South Carolina case, including adjudication of the

Defendant’s pending motion, thus preserving the status quo therein of a dismissal

without prejudice.


      RESPECTFULLY SUBMITTED AND DATED this October 3, 2024.

                                         /s/ Andrew Roman Perrong
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                                  Attorneys for Plaintiff and the Proposed Class

                          LOCAL RULE 7.1(a) CERTIFICATE

      We certify that we attempted to confer with counsel for the Defendant regarding

the relief requested herein, including on September 11, 2024, where counsel stated that

he would not withdraw the “important motion in South Carolina,” and further on October

2, 2024, with a draft copy of the motion, and failed to receive a response.


Dated: October 3, 2024

                                         /s/ Andrew Roman Perrong
                                         Andrew Roman Perrong, Esq.

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                                  Attorneys for Plaintiff and the Proposed Class


                             CERTIFICATE OF SERVICE

      We certify that we filed the foregoing via ECF on the below date, which will

automatically send a copy to all attorneys of record on the case.


Dated: October 3, 2024

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